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Luan Mai, Esq. (FL Bar: 107006)

Price Law Group, APC 2016 HAY 20 PP-il 3: 15
1204 E. Baseline Road., Suite 102
Tempe, AZ 85283 ,` \ -, _ v n "` `

Tel: 818-205-2430 “‘UULLO§'L~A,M F,1
luan@pricelawgroup.com “ “' `
Attomeys for Plaintiff,

Cynthia Sessions

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

Case No.: il lU’LV°QUT`DKCM m
Cynthia Sessions,
Plaintiff,
» COMPLAINT AND DEMAND FOR
vs. JURY TRIAL
1. TCPA, 47 U.S.C. § 227
Credit One Bank N.A.; and DOES l tO 10 2, FCCPA, FLA_ STAT_ § 559_'72
inclusive
(Unlawful Debt Collection Practices)
Defendant.

 

 

COMPLAINT AND DEMAND FOR JURY TRIAL
_Plaintiff, Cynthia Sessions (“Plaintift”), through her attorneys, alleges the following

against Defendant, Credit One Bank, N.A. (“Defendant”):

INTRODUCTION
1. Count I of Plaintiff’ s Complaint is based upon the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates the use
of automated telephone equipment Among other things, the TCPA prohibits certain
unsolicited marketing calls, restricts the use of automatic dialers or prerecorded messages,

and delegates rulemaking authority to the F ederal Communications Commission (“FCC”).

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10.

Count II of Plaintifl’s Complaint is based upon Florida Consumer Collection Practices Act

(“FCCPA”), FLA. STAT. § 559.72, which prohibits debt collectors nom engaging in

abusive, deceptive and unfair practices in connection with the collection of consumer debts.
JURISDICTION AND VENUE

Plaintiff resides in the State of Florida, and therefore, personal jurisdiction is established.

Jurisdiction of the court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.

Venue is proper pursuant to 28 U.S.C. § 139l(b)(2) in that a substantial part of the events

or omissions giving rise to the claim occurred in this District.

PARTIES

Plaintiff is a natural person residing in Winter Park, Orange County, Florida.
Plaintiff is a “debtor” as defined by FLA. STAT. § 559.55(8).
Defendant is a “consumer collection agency” as contemplated by FLA. STAT. § 559.55(3),
and sought to collect a consumer debt from Plaintiff.
Defendant is a national banking association with its headquarters located in Las Vegas,
Nevada. Defendant acted through its agents, employees, 0fflcers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

FACTUAL ALLEGATIONS
In an attempt to collect on one or more alleged consumer accounts, Defendant began calling
Plaintiff, in or around February 2016, on her cellular phone number, (662) 425-2183 nom
the following numbers: (877) 825-3242, (541) 647-6430, (725) 333-7210, (323) 400-4220,
(209) 218-6013, (360) 928-7144, (361) 271-1850, (206) 519-6609, (206) 519-6609, (901)
530-1681, (901) 530-1737, (901) 530-1720, and (901) 530-1730. Upon information and

belief, these numbers are owned or operated by Defendant.

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On February 20, 2016, at 9:30 a.m. Plaintiff answered a call from (877) 825-3242; Plaintiff
heard a pause before the collection agent began to speak, indicating the use of an automated
telephone dialing system.

Plaintiff instructed Defendant not to contact her any further.

Between February 20, 2016 to February 24, 2016, Plaintiff was called no less than four (4)
times after requesting she no longer be contacted.

On February 25, 2016, at 5:38 p.m, Plaintiff answered a call from (877) 825-3242. The
call was dropped so Plaintiff immediately called back and spoke with a representative of
Defendant. During this call, Plaintiff instructed Defendant not to contact her any further
for the second time. Less than two hours after the request was made, Plaintiff received
another ca11 from Defendant.

Between February 26, 2016 to March 1, 2016, Plaintiff was called no less than nineteen
(19) times after requesting that she no longer be called.

On March 19, 2016, Plaintiff received no less than eight (8) calls at the following times:
12:11 p.m.; 1:24 p.m.; 2:28 p.m.; 4:38 p.m.; 5:34 p.m.; 6:45 p.m.; 7:58 p.m. and 8:57 p.m.
B‘om (901) 530-1681.

On March 20, 2016, Plaintiff received no less than eight (8) calls at the following times:
12212 p.m.; 1:33 p.m.; 2:51 p.m.; 4:09 p.m.; 6:00 p.m.; 6:45 p.m.; 7:37 p.m. and 8:29 p.m.
On March 22, 2016, Plaintiff received no less than seven (7) calls at the following times:
1:14 p.m.; 2:32 p.m.; 3:44 p.m.; 4:58 p.m.; 5:52 p.m.; 7:26 p.m.; and 8:27 p.m.

On March 26, 2016, Plaintiff received no less than seven (7) calls at the following times:

12:12 p.m.; 1:30 p.m.; 2:43 p.m.; 4:45 p.m.; 6:35 p.m.; 7:50 p.m.; and 8:39 p.m.

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20. On March 29, 2016, Plaintiff received no less than eight (8) calls at the following times:
12:10 p.m.; 1:34 p.m.; 2:39 p.m.; 3:46 p.m.; 5:28 p.m.; 6:33 p.m.; 7:32 p.m.; and 8:32 p.m.

21. On March 31, 2016, Plaintiff received no less than seven (7) calls at the following times:
12:15 p.m.; 1222 p.m.; 2:56 p.m.; 4:19 p.m.; 6:03 p.m.; 7:16 p.m.; and 8:18 p.m.

22. Upon information and belief, between February 20, 2016 to March 31, 2016, Plaintiff was
called no less than ninety-four (94) times after repeatedly requesting that she no longer be
called.

23. Upon information and belief, calls Were made by the Defendant to Plaintiff’s cell phone
after Plaintiff s multiple requests not to be contacted, with the intent to harass Plaintiff into
making a payment on the account

24. As a result of Defendant’s conduct, Plaintiff has sustained actual damages, including

but not limited to, emotional and mental pain and anguish.

COUNT I
(Violations of the TCPA, 47 U.S.C. § 227)

25. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though
fully stated herein.

26, Defendant’s conduct violated the TCPA. Defendant’s violations include, but are not limited
to the following:

a. Within four years prior to the filing of this action, on multiple occasions, Defendant
violated TCPA 47 U.S.C. § 227 (b)(l)(A)(iii) which states in pertinent part, “It shall
be unlawful for any person within the United States . . . to make any call (other than
a call made for emergency purposes or made with the prior express consent of the

called party) using any automatic telephone dialing system or an artificial or

COMPLAINT AND DEMAND FOR JURY TRIAL
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27.

28.

29. Plaintiff incorporates the foregoing paragraphs as though the same were set forth at length

30.

prerecorded voice _ to any telephone number assigned to a . . . cellular telephone
service . . . or any service for which the called party is charged for the call.”

b. Within four years prior to the filing of this action, on multiple occasions, Defendant
willfully and/or knowingly contacted Plaintiff at Plaintiff’ s cellular telephone using
an artificial prerecorded voice or an automatic telephone dialing system and as such,
Defendant knowing and/or willhllly violated the TCPA,

Defendant willfully and knowingly violated the TCPA when it called Plaintiff on her
cellular phone after Plaintiff had revoked her consent to be called.

As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an award of
five hundred dollars ($500.00) in statutory damages, for each and every violation, pursuant
to 47 U.S.C. § 227(b)(3)(B). If the Court fmds that Defendant knowingly and/or willfully
violated the TCPA, Plaintiff is entitled to an award of one thousand five hundred dollars
($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

U.s.c. § 227(b)(3)(o).

7 _ COUNT II - (Violations of FCCPA, FLA. STAT. §559.72)

herein.

FLA. STAT. §559.72(7) states that in collecting consumer debts, no person shall: willfully
communicate with the debtor or any member of her or his family with such frequency as
can be reasonably be expected to harass the debtor or her or his family, or willfully engage
in other conduct which can reasonably be expected to abuse or harass the debtor or any

member of her or his family;

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31. FLA. STAT. §559.730 states that no person shall be precluded from pursuing remedies
under the FDCPA, 15 U.S.C. § 1692 for any violation of such act, including specifically
against any person who is exempt from the registration provisions of this part.

32. Defendant violated FLA. STAT. § 559.72 by collecting or attempting to collect a consumer
debt without complying with the provisions of Sections l692b to 1692j, inclusive, of . . .
Title 15 of the United States Code (Fair Debt Collection Practices Act).

33. Defendant willfully and knowingly violated the FCCPA when it called Plaintiff with such
frequency as to abuse or harass.

34. Defendant’s acts were done intentionally with the purpose of coercing Plaintiff to pay the
alleged debt.

35. As a result of the foregoing violations of the FCCPA, Defendant is liable to Plaintiff under

FLA. STAT. §559.77 for actual darnages, statutory damages, and attorney’s fees and costs.

WHEREFORE, Plaintiff, Cynthia Sessions, respectfully requests judgment be entered against
Defendant, Credit One Bank, N.A. for the following:
A. Actual damages and Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B), 47 U.S.C.
§ 227(b)(3)(C) and FLA. STAT. § 559.77(2);
B. Punitive damages pursuant to FLA. STAT. § 559.77(2);
C. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692(1<)(3), and FLA. STAT.
§ 559.77(2); and

D. Any other relief that this Honorable Court deems appropriate

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RESPECTFULLY SUBMITTED,

Dated: May 16, 2016 By: /s/Luan Mai
Luan Mai, Esq. (FL Bar: 107006)
1204 E. Baseline Road. Suite 102
Tempe, AZ 85283
luan@pricelawgroup.com
Attomeys for Plaintiff, Cynthia Sessions

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